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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

                                                     )
    COMMON CAUSE INDIANA,                            )
                                                     )
                           Plaintiff,                )         Case No. 1:17-cv-3936-TWP-MPB
                                                     )
                   v.                                )
                                                     )
    CONNIE LAWSON, in her official capacity          )
    as Secretary of State of Indiana,                )
    J. BRADLEY KING, in his official capacity        )
    as Co-Director of the Indiana Election           )
    Division, and ANGELA M. NUSSMEYER,               )
    in her official capacity as Co-Director of the   )
    Indiana Election Division,                       )
                                                     )
                           Defendants.               )


     SUPPLEMENTAL DECLARATION OF JULIA VAUGHN IN SUPPORT OF MOTION
                       FOR SUMMARY JUDGMENT

    I, Julia Vaughn, hereby state, under penalty of perjury, that the following information is true to

    my knowledge, information, and belief:

             1.    I hereby incorporate my affidavit testimony submitted on March 8, 2018, ECF

    No. 74-24, addressing my personal background, my position, Common Cause Indiana, Common

    Cause Indiana’s mission and efforts to expand and protect access to voting, and the resources

    Common Cause Indiana had to devote in response to Senate Enrolled Act 442 (“SEA 442”).

             2.    In late 2019, I became aware that the Indiana legislature was contemplating an

    amendment to its voter list maintenance law, particularly to address provisions that had been

    amended by SEA 442. This law eventually passed in 2020 as Senate Enrolled Act 334 (“SEA

    334”).

             3.    Before SEA 334’s passage, I became concerned because it contained the same

    process that existed in SEA 442 for cancelling voter registration without notice to the voter, an



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    opportunity for the voter to respond, or waiting period, which violated the National Voter

    Registration Act (“NVRA”), and which formed the basis for the court injunction of SEA 442.

           4.      As with SEA 442, when the Indiana legislature was considering SEA 334,

    Common Cause Indiana had to spend time and resources educating state officials and legislators

    about the NVRA and its requirements.

           5.      Specifically, I met with Republican State Senator Greg Walker on November 19,

    2019, after I learned he was involved in the effort to pass new voter list maintenance legislation.

    I told him my understanding that the new law was intended to fix SEA 442, and asked whether

    he would sponsor the bill. State Senator Walker confirmed he would sponsor of the bill. I then

    asked him how SEA 334 would fix SEA 442, and it became clear he had been misinformed

    about SEA 442 and the court decisions in this case.

           6.      State Senator Walker said it was his understanding nobody had their registration

    cancelled without notice, an opportunity for the voter to respond, or waiting period under SEA

    442, which he had sponsored. I asked if he recalled the text of the law and the court decisions

    finding that SEA 442 allowed counties to cancel registration without notice. State Senator

    Walker responded by reiterating it was his understanding that counties went ahead and gave

    notice notwithstanding what the law said. He said that his understanding, and his support of

    SEA 334, were informed by what he had been told by the Indiana Secretary of State and the

    Indiana Election Division. I told him that simply stopping the state’s use of Crosscheck was not

    going to fix the problems surfaced by this litigation, but he maintained that the language of the

    statute did not matter because the counties were going to follow notice and waiting procedures.

           7.      Once the legislative session started in January 2020, the language of SEA 334

    became available. As I had feared, the new law still allowed counties to cancel the registrations



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    of voters without notice, an opportunity for the voter to respond, or waiting period. I had another

    discussion with State Senator Walker about this and again flagged the fact that SEA 334’s

    allowance of voter registration cancellation without notice, an opportunity for the voter to

    respond, or waiting period violated the NVRA, per the court opinions in this case.

            8.         The State Senate Elections Committee heard testimony on SEA 334 on January

    16, 2020, where I testified about the same concerns I had raised to State Senator Walker, and

    emphasized that just getting rid of Crosscheck did not solve the fundamental NVRA violations in

    SEA 442. Still, SEA 334 passed the State Senate and moved to the State House of

    Representatives.

            9.         After my attempts to correct the apparent misinformation in the Senate failed, I

    sent a letter to State Representative Timothy Wesco, the House sponsor of SEA 334. My letter

    outlined my concerns – including that SEA 334 still violated the NVRA by allowing counties to

    cancel registrations without notice, an opportunity for the voter to respond, or waiting period.

    On February 16, 2020, the Indy Star published an op-ed that I authored about how the Indiana

    legislature was in the process of passing a law intended to “fix” the enjoined SEA 442, but which

    instead repeated the same NVRA violations.1

            10.        On February 20, 2020, there was a hearing on SEA 334 before the House

    Committee on Elections and Apportionment. I testified at the hearing, and repeated my concerns

    regarding SEA 334 violating the NVRA for the same reasons as SEA 442. State Representative

    Wesco asked me at the hearing a question to the effect of, “Ms. Vaughn are you aware that,

    when it comes to elections, counties don’t have ‘home rule.’?” He meant that the counties could


            1
                https://www.indystar.com/story/opinion/2020/02/16/op-ed-indiana-senate-again-tries-purge-voters-

    without-notice/4764155002/ (last visited June 30, 2020).


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    not do different things because the State alone controlled voter list maintenance procedures. At

    the hearing, Indiana Election Division Co-Director Bradley King was the only one who testified

    on behalf of SEA 334. It was clear to me that the Legislature was being misled by Mr. King and

    Secretary Lawson, both in what the language of SEA 334 meant and how counties were

    implementing voter list maintenance. Mr. King stressed to the Committee that this litigation “is

    not over and the Seventh Circuit has not issued a final opinion.” Mr. King also told the

    Committee that counties performed voter list maintenance in a uniform way that complied with

    the NVRA – the same claim Senator Walker told me in November 2019.

           11.     After the Committee hearing, State Representative Wesco approached me and

    told me he wanted to respond in writing to my concerns. He gave me a letter, a true and correct

    copy of which is attached as Exhibit A. I told him that Mr. King’s testimony about how voter

    list maintenance takes place at the county level was inaccurate, and asked him to read documents

    from this lawsuit, including testimony from county clerks establishing their practices were not

    uniform at all. I wanted him to see there was sworn testimony that counties were purging voters

    without notice, an opportunity for the voter to respond, or waiting period, and with no uniformity

    in their protocols. Nonetheless, SEA 334 passed out of the Committee, and was eventually

    passed by the Indiana legislature and signed into law on March 21, 2020.

           12.     These lobbying efforts necessarily took time away from other important issues for

    which Common Cause Indiana was lobbying and advocating at the time, including increasing

    early voting and non-partisan redistricting. Nonetheless, Common Cause Indiana believed and

    continues to believe that SEA 334 threatens an individual’s right to vote.

           13.     Common Cause Indiana believes that SEA 334, like SEA 442, makes it more

    likely that Indiana voters will have their registrations cancelled by failing to provide voters



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    identified by the new IDEA “cross-check” program with a conformation notice and waiting the

    requisite two election cycles before canceling that voter’s registration record. This belief is

    based in part on the organization’s experience prior to SEA 442 and SEA 334, when the Indiana

    Election Division required counties to send such notices and wait the requisite two election

    cycles. The notice and waiting period did in fact alert voters who were being erroneously

    removed from the voter rolls. This process provides safeguards that reduce the risk of being

    improperly removed from the voter rolls; this risk is only likely to increase under SEA 334, as it

    did under SEA 442, because both laws lack that notice and waiting process.

           14.     Prior to SEA 442, some voters who had received cancelation notices would call

    Common Cause Indiana asking for advice. Common Cause Indiana would generally advise them

    to contact their county voter registration office if the voter believed they were being erroneously

    removed from the rolls. In these cases, the error could be fixed prior to Election Day.

           15.     However, because voters erroneously canceled through the IDEA procedures

    under SEA 334 will not be notified of their cancelation, many will first learn about the

    cancelation on Election Day, when they show up at their polling place.

           16.     Common Cause Indiana is aware of such voters because it received calls asking

    about erroneously-cancelled voters at the polls in previous elections. Common Cause Indiana

    also sends member volunteers into the field to serve as poll monitors, who provide a number of

    services to voters who have questions or concerns at the poll. Occasionally, a volunteer will call

    Common Cause Indiana asking what to do with an erroneously canceled voter who is at the poll.

           17.     In such cases, some voters will simply not cast a ballot if they are told their voter

    registration has been canceled. Others are not even offered a provisional ballot or provided any

    information from the poll worker regarding the possibility of casting a regular ballot if their



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    registrations have been erroneously cancelled. The most unfortunate part of that complexity is

    that the affected voter is unaware they cannot vote until they show up to vote.

            18.     By increasing the risk that a voter registration record will be erroneously removed

    from the voter roll, SEA 334 harms Common Cause Indiana’s mission of reducing barriers to

    voting, and imposes additional burdens on Common Cause Indiana that take time and resources

    away from lobbying and advocacy efforts on other issues, including, but not limited to,

    nonpartisan gerrymandering, and increasing early satellite voting.

            19.     For example, Common Cause Indiana has devoted additional time and resources

    to addressing the effects of SEA 334, including conducting activities such as training sessions

    aimed at educating voters and community activists about the increased risk of erroneous voter

    registration cancelations. This included a training session leading up to the June 2, 2020

    primary.

            20.     Similarly, six to eight times a year, Common Cause Indiana conducts citizen

    advocacy trainings for members and the general public. Topics have included redistricting, early

    voting, and other electoral issues that affect the state.

            21.     In past elections, Common Cause Indiana has also conducted training sessions for

    member volunteers to serve as poll monitors. It anticipates doing so again for the 2020 general

    election. Topics for these trainings have focused on polling place procedures, voter rights, and

    what to do when a poll monitors thinks a voter’s rights are being violated. I have had to make

    significant adjustments to my long-term planning for these trainings because of SEA 334. If it

    were to go into effect, much more of these trainings will have to focus on voter purging. Voter

    purging is a very difficult topic to train volunteers on, which will require an inordinate amount of




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    education. Therefore my long-term planning for our standard trainings has been broadly effected

    by SEA 334 because I must plan to lose a lot of training time to voter purge education.

           22.     Common Cause Indiana’s volunteer staff similarly spends considerable time

    developing a curriculum and presentation materials for these sessions. They have similarly had to

    spend a greater portion of their fixed time to discussing SEA 334’s effects, diverting resources

    from other issues.

           23.     Discussing the impact of SEA 334 on voters also generates questions both during

    and after the sessions to which Common Cause Indiana has to respond. As the only Common

    Cause employee in Indiana, fielding these calls always fall on me.

           24.     In the past, Common Cause Indiana volunteers and voters have called Common

    Cause Indiana on Election Day because their names had been erroneously removed from the

    voter roll. I believe that the number of these calls will increase significantly once Indiana begins

    implementing the IDEA process under SEA 334, and these calls will take away from my ability

    to work on Common Cause’s other priorities in Indiana.

           25.     In past elections, we have had 50-80 volunteers serving as poll monitors in the

    field. Because I am also usually the only person fielding calls from them our 50-80 poll monitor

    volunteers, SEA 334 will make me less able to address poll access and other issues besides

    registration cancellations, which will inevitably come up on what is a very busy day for our

    organization (Election Day).

           26.     Common Cause Indiana volunteers at polling sites on Election Day will also have

    to spend more time assisting the increase in voters who have been erroneously removed from the

    rolls and be less able to assist voters with other poll access issues. In addition, with




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